                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE


SERGIO LOPEZ ESCOBAR                                  )
                                                      )
Plaintiff,                                            )
                                      v.              )      No.
                                                      )
ENHANCED RECOVERY COMPANY, LLC                        )
D/B/A ENHANCED RECOVERY SOLUTIONS                     )
                                                      )
Defendants,                                           )
                                                      )
                                                      )
                                                             JURY TRIAL DEMANDED


                                           COMPLAINT

                                JURISDICTION AND VENUE

1. Jurisdiction of this Court arises under 28 U.S.C. § 1331, and pursuant to 15 U.S.C. § 1692k (d).

2. This action arises out of violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692

et seq. (“FDCPA”) by the Defendants, in their illegal efforts to collect consumer debts.

3. Venue is proper in this District because the acts and transactions occurred here and Plaintiff

resides here.

                                            PARTIES

4. Plaintiff, Sergio Lopez Escobar (hereinafter referred to as “Plaintiff”) is a natural person who

resides in Davidson County, Tennessee and is a “consumer” as that term is defined by 15 U.S.C.

§ 1692a(3).

5. Defendant Enhanced Recovery Company, LLC, (hereinafter “Defendants”) is a “debt collector”

as that term is defined by 15 U.S.C. § 1692a(6), and a for-profit Limited Liability Company

organized in Delaware, and may be served through its agent for service of process at C T

Corporation System, 1200 South Pine Island Road, Plantation, Florida 33324 as its registered

agent for service of process.




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6. Defendant acted through its agents, employees, officers, members, directors, heirs, successors,

assignees, principals, trustees, sureties, subrogees, representatives, and insurers.



                                   FACTUAL ALLEGATIONS

7. Defendants have alleged that Plaintiff incurred an obligation to pay money arising out of a

transaction in which the money, property, insurance, or services which are the subject of the

transaction are primarily for personal, family or household purposes, and is therefore a “debt” as

that term is defined by 15 U.S.C. § 1692a (5), namely, a cell phone debt which resulted from a

case of identity theft, originally owed to, or serviced by, Sprint (hereinafter “Sprint”).

8. Sometime prior to November 15, 2012, Plaintiff’s debt was consigned, sold, or otherwise

transferred to the Defendants for collection from Plaintiff.

                 Validation and Verification demanded of Enhanced Recovery

9. Within one (1) year prior to the filing of this Complaint, on or about March 16, 2015, the Plaintiff

sent, via USPS Certified Mail, a validation and verification letter related to this debt. Such letter

was timely delivered as tracked by the USPS web service. See Exhibit 1.

10. Plaintiff had and still has a current cell phone contact with Sprint. The Plaintiff’s cell phone

account was never disconnected and while checking his credit reports, Plaintiff discovered that he

had been the victim of identity theft.

11. Defendants did place a disputed notice on the Plaintiff’s credit reports but have never sent any

validation or verification on this debt, in violation of 15 U.S.C. § 1692g.

12. Specifically, Plaintiff has never received any letter or notification other than the adverse credit

records reported to the three credit bureaus, TransUnion, Equifax, and Experian that he owed any

debt at all to the Defendants in violation of 15 U.S.C. § 1692g(a)(1), 15 U.S.C. § 1692g(a)(2), 15

U.S.C. § 1692g(a)(3), 15 U.S.C. § 1692g(a)(4) and 15 U.S.C. § 1692g(a)(5) .

13. Plaintiff believes that at the time the Defendants purchased the Plaintiff’s alleged Account,

they did not receive any documents which (a) could be used as evidence to show, in a court of law,

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that the Plaintiff had entered into a contract with any entity creating the debt or opening an account,

(b) show how the amount claimed as due was calculated or what the Plaintiff received in return

for incurring the debt, (c) show how the pre-judgment interest on the debt was to be calculated,

and (d) show when the debt went into default and what acts by the Plaintiff caused the alleged

default, or they would have sent proof thereof at the time of the validation and verification letter.

14. Defendants claim that the original creditor in this account is Sprint, but have provided no

evidence before the filing of this lawsuit that would support the truthfulness of this allegation.

15. Defendants made an intentional business decision not to obtain knowledge as to whether this

or any other written contract existed between Sprint and the Plaintiff, or if there was other

documentation showing when or how the debt was incurred prior to making a reasonable and

adequate investigation as to whether the Plaintiff owed the amount of debt they were attempting

to collect, intending to either obtain a default judgment or coerce the Plaintiff into a settlement.

16. Defendants failed to maintain (i.e., actually employ or implement) procedures to avoid errors

under the FDCPA, during the collection of the Plaintiff’s alleged debt, nor did they utilize

reasonable and adequate investigation as to whether the Plaintiff owed the amount of debt they

were attempting to collect, nor was a procedure reasonably adapted to avoid using a deceptive or

misleading representation or means in connection with collection of the debt.

17. By making a business decision to intentionally not (a) obtain knowledge as to whether a written

Contract existed between Sprint and the Plaintiff, or if there was other documentation showing

when or how the debt was incurred, and (b) make a reasonable and adequate investigation as to

whether the Plaintiff owed the amount of debt they were attempting to collect, the Defendants used

a deceptive and misleading representation in connection with collection of the debt as to the

amount allegedly owed by the Plaintiff.

18. By ignoring the validation and verification request of the Plaintiff, the Defendants used

misleading representations in connection with collection of the debt as to the amount of debt

allegedly owed by the Plaintiff which is known or should be known to be false, in violation in

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violation of 15 U.S.C. §1692e (2)(A), and the false representation of the character, amount or legal

status of the debt is the use of a false, deceptive, and misleading representation or means in

connection with collection of the debt to collect or attempt to collect the debt, in violation of 15

U.S.C. § 1692e and 1692e (10), and is an unfair means to collect or attempt to collect the debt in

violation of 15 U.S.C. § 1692f.

19. By using false, deceptive, and misleading representations or means in connection with

collection of the debt the Defendants have communicated credit information to the general public,

credit reporting agencies, Equifax, Transunion, Experian and the Plaintiff, which is known or

should be known to be false, in violation of 15 U.S.C. § 1692e (8).

20. The Plaintiff contends that the Defendants intentionally chose not to obtain or review a copy

of the written original Contract signed by the Plaintiff or any other evidence as to the amount of

debt allegedly owed by the Plaintiff or whether the fact that the Plaintiff owed the debt at all,

constituting the use of deceptive and misleading representations or means in connection with

collection of the debt that would create a false impression in the mind of the least sophisticated

consumer in violation of 15 U.S.C. § 1692e, 1692e (8), & 1692e (10). Defendants have not

provided any documentation to show that they were able to properly calculate the amount owed

prior to reporting an adverse account status to the credit bureaus, presumably because Defendants

had intentionally made no effort to do so. Plaintiff was never sent past due bills, notifications, or

even any disconnection warnings from the original creditor, Sprint. Plaintiff contends this was

due to an incidence of identity theft. Defendants should have properly noticed the Plaintiff so that

he could dispute the information, and by failing to do so, they are in violation of 15 U.S.C. §

1692(g).

              Conduct by Defendants Caused Plaintiff to Suffer Actual Damages

21. That the above-detailed conduct by Defendants, of harassment, abuse, false, misleading, unfair,

and deceptive acts and/or practices in illegally attempting to collect a debt from the Plaintiff in

violation of numerous and multiple provisions of the FDCPA, including, but not limited to, all of

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the above mentioned provisions of the FDCPA and a revelation of private financial data to third

parties.

22. That the Plaintiff has suffered actual damages as a result of these illegal communications and

collection attempts by Defendants in the form of attorney’s fees costs, anger, anxiety, emotional

distress, fear, frustration, upset, humiliation, and embarrassment, amongst other emotions, as well

as suffering from unjustified and abusive invasions of personal privacy.

23. That the Plaintiff is informed, believes, and therefore alleges that Defendants knowingly and

intentionally engaged in harassing, abusive, false, misleading, unfair, deceptive and illegal debt

collection.

                                             Summary

24. The above-detailed conduct by Defendants in connection with collection of the debt and in an

attempt to collect the debt was conduct in violation of numerous and multiple provisions of the

FDCPA including, but not limited to, the above-cited provisions of the FDCPA.

                                        TRIAL BY JURY

25. Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const. amend. 7.

Fed.R.Civ.P. 38.

                                     CAUSES OF ACTION

                                            COUNT I.

           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                     15 U.S.C. § 1692 et seq

26. Plaintiff incorporates by reference all of the above paragraphs as though fully stated herein.

27. The foregoing acts and omissions of Defendants constitute numerous and multiple violations

of the FDCPA including, but not limited to, each and every one of the above cited provisions of

the FDCPA, 15 U.S.C. § 1692 et seq., with respect to Plaintiff.

28. As a result of Defendants violations of the FDCPA, Plaintiff is entitled to actual damages

pursuant to 15 U.S.C. § 1692k (a)(1), in an amount to be determined at trial by a jury; statutory

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damages pursuant to 15 U.S.C. § 1692k(a)(2)(A) in the amount of One Thousand Dollars

($1,000.00); and reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k (a)(3) from

the Defendants.

                                    PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendant.

                                            COUNT I.

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                    15 U.S.C. §§ 1692 et seq.

for an award of actual damages pursuant to 15 U.S.C. § 1692k (a)(1) against the Defendants in

an amount to be determined at trial by a jury;

for an award of statutory damages pursuant to 15 U.S.C. §1692k (a)(2)(A) in the amount of One

Thousand Dollars ($1,000.00) against the Defendants;

for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

1692k (a)(3) against the Defendants; and

for such other and further relief as may be just and proper.

       Dated November 6, 2015

                                      Respectfully submitted on behalf of,

                                      SERGIO LOPEZ ESCOBAR

                                      /s/ William M. Kaludis
                                      William M. Kaludis, Attorney for the Plaintiff
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